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                         IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE WESTERN DISTRICT OF PENNSYLVANIA


IN RE:                                              : Bankruptcy No. 20-20774-CMB
                                                    :
AARON C. STEVENS                                    : Chapter 7
                                                    :
                             Debtor                 :


                 BKRES AGREEMENT AND DECLARATION OF PATRICK BUTLER

         The undersigned, Patrick Butler (“Declarant”) hereby states:
        1. I am employed by BK Global Real Estate Services (“Applicant” or “BKRES”), which is an
entity duly licensed as a real estate brokerage by the State of Florida located at 1095 Broken Sound Pkwy
NW Suite 100, Boca Raton, FL 33487. I am Applicant’s broker-in-charge and am authorized by Applicant
to submit this Declaration on Applicant’s behalf in support of the BKRES Application and in accordance
with Bankruptcy Rule 2014.

        2. Based upon the information discussed below, I believe that Applicant is a disinterested person
and does not hold or represent any interest adverse to the interest of the Debtor’s estate as that term is
defined in Section 101(14) of the Bankruptcy Code.

        3. To the best of my knowledge: (a) neither BKRES nor any of its employees has any
connection with the Debtor, its creditors in this case, the Chapter 7 Trustee, the Office of the United States
Trustee, or any employees thereof or any party in interest herein; (b) BKRES and each of its employees are
“disinterested persons,” as that term is defined in Section 101(14) of the Bankruptcy Code; and (c) neither
BKRES nor any of its employees hold or represent an interest adverse to the Debtor’s estate.

     4. That I have read the application of the Trustee regarding the retention and compensation of
BKRES and agreed to be bound by the terms and conditions represented therein.

       5. That I further understand that the Court, in its discretion, may alter the terms and conditions
of employment and compensation to be paid in this matter.

        6. In consideration of the foregoing, BKRES will perform one or more services as directed by
the Trustee, including but not limited to:

                 Researching the real estate, running title and lien searches to identify creditors
                  for resolution and any title issues;
                 Advising the trustee of any issues and discuss potential resolutions;
                 Conducting the resolutions under the trustee’s direction;
                 Assisting the trustee in the collection of documents and information for
                  employment;
                 Making contact with the secured creditor(s);
                 Notifying them of the upcoming sale and identifying servicer requirements;
                 Assisting the trustee in establishing market value and negotiating with the
                  servicer an acceptable sales price and establishing a carve-out;
                 Development of online marketing, email campaign and full nationwide
                  marketing services;
                 Conducting on online sale;
                 Use of the technology platform;
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               Assist the trustee in the review of all offers and coordinate the final
                documentation of the offer accepted by the trustee;
               Managing contract requirements such as inspections, appraisals and HOA
                applications;
               Coordinating closings and assisting the trustee in the collection of required
                information for court filing; and
               Closing the transaction and ensure the estate has received the appropriate funds


  Verified under penalty of perjury that the foregoing is true and correct.

Dated: June 2, 2020
                                                                          Patrick Butler
                                                                          Corporate Broker
                                                                          1095 Broken Sound Pkwy NW
                                                                          Suite 100
                                                                          Boca Raton, FL 33487
                                                                          Phone: 214-256-4515 X 2
                                                                          Email: pbutler@bkginc.com




                                                EXHIBIT A
